Case 2:05-cr-20212-SH|\/| Document 8 Filed 06/07/05 Page 1 of 2 Page|D 12
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UNITED sTATEs DIsTRIcT COURT F'"E° m
FOR THE

WESTERN DISTRICT 0F TENNESSEE 05 JUN '7 m 9= n

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CR. No. 05-20212-Ma

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UNITED STATES OF AMERICA

VS.

WILLIE R()GERS

APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
Tony R. Arvin, AUSA applies to the Court for a Writ to have Willie Rogers #04116503 now

being detained in the Shelby County Jail, appear before Ma istrate Jud e Tu M. Pham, 13th,

 

June, 2005, at 2:00 p.m. for an Initial Appearance and for such other appearances as this Court
may direct.
Respectfully submitted this ith day of .]une, 2005.

QM€.L-

TGFFY R.,ARVIN

Assistant U. S. Attorney

 

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Upon consideration of the foregoing Application,
DAVID JOLLEY, U.S. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN
sHERIFF/WARDEN, Mark Luttrell

YOU ARE HEREBY COMMANDED to have Willie Rogers, #04116503 appear before the Honorable
Judge Pham at the date and time aforementioned

,_`
ENTEREDchis l day of J'\W`"L ,2005.

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UNITED STATES MAGISTRATE JUDGE

This docL.ment entered on the docket sheet in compile 3
with me 55 and/or azrb) mch on _ .LQ_‘_.|___QS_O

UNITED sTTES DISTRICT OURT - WESTERN D"RITICT 0 TENNESSEE

   

Notice of Distribution

This notice confirms a copy cf the document docketed as number 8 in
case 2:05-CR-202]2 Was distributed by faX, rnaiI, or direct printing on
June 10, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

